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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION


   BABY DOE, et al.,                                    )
                                                        )
                  Plaintiffs,                           )
                                                        )
   v.                                                   )       Case No. 3:22-cv-49-NKM
                                                        )
   JOSHUA MAST, et al.,                                 )
                                                        )
                  Defendants,                           )
                                                        )
   and                                                  )
                                                        )
   UNITED STATES SECRETARY OF                           )
   STATE ANTONY BLINKEN, et al.,                        )
                                                        )
                  Nominal Defendants.                   )
                                                        )

            [PROPOSED] ORDER GRANTING DEFENDANT RICHARD MAST’S
                          MOTION TO FILE UNDER SEAL
                  UNREDACTED EXHIBITS TO HIS MEMORANDUM
          IN OPPOSITION TO PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

          This matter is before the Court on Defendant Richard Mast’s Motion To File Under Seal

   Unredacted Exhibits To His Memorandum In Opposition to Plaintiffs’ Motion For Protective

   Order. Richard Mast moves that unredacted copies of the Exhibits referenced in or filed in redacted

   format with his Memorandum In Opposition to Plaintiffs’ Motion For Protective Order, be filed

   under seal, pursuant to Local Rule 9 and the Protective Order (Dkt. 26). Richard Mast requests the

   entry of an order allowing him to file the unredacted versions of Exhibits referenced in or filed in

   redacted format with his Memorandum under seal. Having established grounds for sealing that

   information, the Court ORDERS Richard Mast’s unredacted and other Exhibits to be SEALED

   until further Order of this Court.
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          Accordingly, Richard Masts’ motion to seal will be and hereby is GRANTED.

          It is so ORDERED.

          The Clerk of Court shall send a certified copy of this Order to all counsel of record.



   Charlottesville, Virginia                                   __________________________
   Dated: _______________                                      Norman K. Moon
                                                               United States District Judge
